·.    Case 3:10-cr-01863-LAB                        Document 245                Filed 03/03/11               PageID.1137               Page 1 of 4


     'l>.A0245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet I                                                                                                                      " ;


                                              UNITED STATES DISTRICT COURT                                                           If MAR -3 PH 4: 05
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE                                                 A;
                                        v.                                           (For Offenses Committed On or After Nbvember I. (987)                     DEP!lTV

                  ROXANNE YVETTE HEMPSTEAD (4)                                       Case Number: lOCRI863-LAB
                                                                                     RICHARD B. RODRIGUEZ
                                                                                     Defendant's Attorney
     REGISTRATION NO. 57653098

     o
     TH E DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INDICTMENT
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is aqjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of Offense                                                                              Number(sl
18 USC 1349 and 1343                   CONSPIRACY TO COMMIT WIRE FRAUD                                                                      I




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s) ------------------------------
 181 Count(s) REMAINING COUNTS                                                        is   0     are~ dismissed on the motion of the United States.
 181 Assessment: $100.00

 181 No fine                                        0 Forfeiture pursuant to order filed                                        • included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shan notity the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               FEBRUARY 28,2011




                                                                              HON. LARRY ALAN BURNS
                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                IOCRI863-LAB
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     AO 2458     (Rev. 9/00) Judgment in Criminal Case
                 Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page _ _2_ of        4
     DEFENDANT: ROXANNE YVETTE HEMPSTEAD (4)
     CASE NUMBER: 10CR1863-LAB
                                                                   IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
               12 MONTHS



         o Sentence imposed pursuant to Title 8 USC Section 1326(b).
         181 The court makes the following recommendations to the Bureau of Prisons:
               PLACEMENT IN THE WESTERN REGION




         181 The defendant is remanded to the custody of the United States Marshal.
         o The defendant shall surrender to the United States Marshal for this district:
                 Oat                                       Da.m.    Dp.m.     on _ _ _ _ _ _ _ _ _ __

                    as notified by the United States Marshal.

         o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                0 ____________________________________________________
                o notified by the United States Marshal.
                    a~

                o as notified by the Probation or Pretrial Services Office.
                                                                      RETURN
      I have executed this judgment as follows:

               Defendant delivered on                                                 to

      at _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy ofthis judgment.


                                                                                                UNITED STATES MARSHAL


                                                                            By __________~~~~~~~~~~~~----------
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                          10CR1863-LAB
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   AO 245D      (Rev. 3/10) Judgment in a Criminal C8!Ie for Revocations
                Sheet 3    Supervised Release
                                                                                                                               3 _ of _ _4:...-_ _
                                                                                                              Judgment--Page _ _
   DEFENDANT: ROXANNE YVETTE HEMPSTEAD (4)                                                            II
   CASE NUMBER: lOCR1863-LAB
                                                                SUPERVISED RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a term of:
   3 YEARS

            The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
   the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   For offenses committed on or after September J3, J994:
   The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
   substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
   thereafter as determined by the court. Testing requirements will not exceed submission of more than        drug tests per month during
   the term of supervision, unless otherwise ordered by court.                                          -­

   D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
          The defendant shall register with the state Sex offender registration agency in the state where the defendant resides, works,
          or is a student, as directed by the probation officer. (Check, ifapplicable.)

   D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
             If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
   or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
   forth in this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
   any special conditions imposed.

                                            STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
            a felony, unless granted permission to do so by the probation officer;
    10)     the defendant shall permit a pro bation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
    11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
    13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant's compliance with such notification requirement.
                                                                                                                                     lOCR1863-LAB




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       AO 245B     (Rev. 9100) Judgment in a Criminal Case
                   Sheet 4    Special Conditions
                                                                                                          Judgment-Page   --1.- of _ _4"'--_ _
       DEFENDANT: ROXANNE YVETTE HEMPSTEAD (4)                                                       II
       CASE NUMBER: lOCR1863-LAB




                                               SPECIAL CONDITIONS OF SUPERVISION
[2g Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the
    premises may be subject to searches pursuant to this condition.


o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
[2g Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
[2g Provide complete disclosure of personal and business financial records to the probation officer as requested.
[2g Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within                  days.
o   Complete             hours of community service in a program approved by the probation officer within
[2g Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 6 months (punitive)
[2g Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, entity, including a trust, partnership or corporation, until restitution is paid in full.

[2g Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly,
    including any interest held or owned under any other name or entity, including trusts, partnerships or corporations, until restitution is paid in
    full.




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